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IN THE UNITED sTATEs DISTRICT CoURT F“'ED BY -»W¢ D-C-

 

FoR THE WESTERN DISTRICT oF TENNESSE
wEsTERN DIvIsloN 165 AUG l 9 PH l*‘ mt
mowth
DAFFNEY THOMAS, U%%§ EJQ`T§’THSLM

Plaintiff,

v. No. 04-2314 Ml V

CITY OF MEMPHIS, et al.,

Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by Written notice, the following dates have
been established as the final dates for:
INITIAL DISCLOSURES pursuant to Fed.R.Civ.P. 26(a)(l): Sep_tember 82 2005

JOTNING PARTIES: October 25 2005

 

AMENDING PLEADINGS: October 25 2005

 

INITIAL MOTIONS TO DISMISS: Novernber 28 2005

 

COMPLETING ALL DISCOVERY: 1363me 24, 2006
a) WRITTEN DISCOVERY: Februa;ry 24, 2006
b) .DEPOSITIONS: February 24, 2006
c) EXPERT DISCLOSURES (Rule 26)

l) Plaintiff‘s Rule 26 Expert: December 30 2005

 

2) Defendants' Rule 26 Expet‘t: January 30, 2006

3) Expert Depositions: February 24l 2006

Thls document entered on the docket sheet in compliance
with eula 58 and;or 79(3) FRCP on ' 5

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FILING DISPOSITIVE MOTIONS: March 24 2006

 

FINAL LISTS OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):
a) F or Plaintiff: Thirtv (30) days prior to trial
b) For Defendants: Twentv (20) days prior to trial

c) Parties shall have ten (10) days after service of opposition's final witness
and/or exhibit list to file objections under Rule 26(a)(3)

OTHER RELEVANT MATTERS:

No depositions may be scheduled to occur after the discovery deadline All
motions, written discovery, or other filings that require a response must be filed
sufficiently in advance of the discovery deadline so as to enable opposing counsel to
respond by the time permitted by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline
or within thirty g30! days of the default or the service of the response, answer, or
objection if the default occurs Within thirty (30) days of the discovery deadline, unless the
time f`or filing of such motion is extended for good cause shown, or the objection to the
default, response, answer, or objection shall be waived.

The parties are reminded that, pursuant to Local Rule ll(a)(l)(A), all motions,
except motions pursuant to Fed.R.Civ.P. 12, 56, 59, and 60, must be accompanied by a
proposed order. The opposing party on any motion may file a response. Neither party
may file an additional reply, however, without leave of the court. If a party believes that
a reply is necessary, it must file a motion for leave to file a reply accompanied by a
memorandum setting forth the reasons for which a reply is required

This case is set for JURY TRIAL and is expected to last t_w_o days. The district
judge will set the trial date, pretrial conference date, and deadline for pretrial order. The
attorneys will determine if the case is appropriate for ADR and will report to the Court
within one (l) week after the close of discovery.

The parties have not consented to trial before the magistrate judge.
This Scheduling Order has been entered after consultation with trial counsel

pursuant to notice. Absent good cause shown, the scheduling dates set by this Order will
not be modified or extended

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IT IS SO ORDERED.

H<OAN f zaer

Diane K. Vescovo
United States Magistrate Judge

Dated: Q,(/;M@/(_ /z cQFJ 5a

APPROVED AS TO FORM:

/AM éé 1214 w/fd//H,.`.r.u.e--»'
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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 2:04-CV-02314 was distributed by fax, mail, or direct printing on
August 19, 2005 to the parties listed.

sssEE

 

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Honorable J on McCalla
US DISTRICT COURT

